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 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA                    Case No.: 1:19-cr-00072 JLT SKO
12                     Plaintiff,                ORDER DENYING DEFENDANT’S MOTION
                                                 FOR SENTENCE REDUCTION
13          v.
                                                 (Doc. 177)
14   FRANCISCO ALCANTAR MIRANDA,
15                     Defendant.
16

17          Francisco Alcantar Miranda seeks a reduction in his sentence based upon the 2023

18   Amendments to the United States Sentencing Guidelines, by claiming he was entitled to the 2-

19   level reduction due to his being a “zero-point offender.” (Doc. 177 at 1-2) Because the reduction

20   would have no impact on the length of his sentence, Mr. Alcantar Miranda is not eligible for a

21   reduction in his sentence. Thus, his motion is DENIED.

22          I. Analysis

23          Mr. Alcantar Miranda plead guilty to one count of Conspiracy to Distribute and Possess

24   with Intent to Distribute Methamphetamine, Cocaine, Heroin and Marijuana under 21 U.S.C. §

25   841(a)(1) and 21 U.S.C. § 846. (Docs. 74, 81) The statute requires that a person convicted under

26   21 U.S.C. § 841(a)(1) “shall be sentenced to a term of imprisonment which may not be less than

27   10 years.” 21 U.S.C. § 841(b)(1)(A).

28          At the sentencing hearing, the Court determined Mr. Alcantar Miranda had a total offense
                                                     1
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 1   level 31, and because he had one prior eligible criminal conviction, the Court determined that his

 2   criminal history category was “I.” (Doc. 74 at 8-9) Under the 2023 Amendments to the

 3   Guidelines, Mr. Alcantar Miranda would not have been determined to be a “zero-point offender”

 4   because he had a prior conviction.

 5          However, no matter his total offense level, Mr. Alcantar Miranda was sentenced to the

 6   mandatory minimum term of imprisonment required by the statute. (Docs. 80, 81) Because there

 7   was no applicable exception to the mandatory minimum term of imprisonment to which Mr

 8   Alcantar Miranda was sentenced, the 2023 Amendments to the Guidelines provide him no relief.

 9   Thus, his motion to reduce his sentence (Doc. 177) is DENIED.

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     IT IS SO ORDERED.
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12      Dated:     June 7, 2024
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